            Case 8:14-bk-13668-RCT         Doc 71     Filed 09/15/15    Page 1 of 4




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                      8 DIVISION

In re: Anthony Wayne Stansberry             §       Case No. 8:14-bk-13668-KRM
       Jennifer Lynn Stansberry             §
                                            §
              Debtor(s)                     §
          CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Kelly Remick, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 11/21/2014.

       2) The plan was confirmed on NA.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on NA.

       5) The case was converted on 09/10/2015.

       6) Number of months from filing or conversion to last payment: 8.

       7) Number of months case was pending: 9.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $4,000.00.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the Trustee relating to this case have NOT cleared the bank.




UST Form 101-13-FR-S (9/1/2009)
            Case 8:14-bk-13668-RCT         Doc 71        Filed 09/15/15    Page 2 of 4




Receipts:
       Total paid by or on behalf of the debtor(s)             $ 21,504.00
       Less amount refunded to debtor(s)                             $ 0.00
NET RECEIPTS                                                                        $ 21,504.00



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                         $ 0.00
       Court Costs                                                   $ 0.00
       Trustee Expenses & Compensation                            $ 913.92
       Other                                                         $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                       $ 913.92

Attorney fees paid and disclosed by debtor(s):                  $ 3,125.00



Scheduled Creditors:
Creditor                                         Claim         Claim        Claim    Principal    Interest
Name                               Class     Scheduled      Asserted     Allowed         Paid        Paid
ASSET ACCEPTANCE, LLC              Sec       18,091.50           NA           NA         0.00        0.00
CACH LLC                           Sec        4,673.78           NA           NA         0.00        0.00
DOUG BELDEN, HILLSBOROUGH          Sec            0.00           NA           NA         0.00        0.00
DOUG BELDEN, HILLSBOROUGH          Sec            0.00           NA           NA         0.00        0.00
FORD MOTOR CREDIT COMPANY          Sec       26,000.00           NA           NA         0.00        0.00
GRAND HAMPTON COMMUNITY            Sec        9,000.00           NA           NA         0.00        0.00
GRAND HAMPTON COMMUNITY            Sec            0.00           NA           NA         0.00        0.00
GREEN TREE                         Sec       60,053.00           NA           NA         0.00        0.00
NATIONSTAR MORTGAGE LLC            Sec       49,713.00           NA           NA         0.00        0.00
PORTFOLIO RECOVERY ASSOCIATE       Sec        5,514.05           NA           NA         0.00        0.00
SANTANDER CONSUMER USA             Sec       15,333.00           NA           NA         0.00        0.00
Wells Fargo Bank                   Con      492,773.23    639,122.41   639,122.41   20,590.08        0.00
SELECT PORTFOLIO SERVICING         Sec      132,085.46           NA           NA         0.00        0.00
WESTLAKE FINANCIAL                 Sec       17,000.00           NA           NA         0.00        0.00
                                   Lgl        3,125.00      3,125.00     3,125.00        0.00        0.00




UST Form 101-13-FR-S (9/1/2009)
            Case 8:14-bk-13668-RCT       Doc 71   Filed 09/15/15     Page 3 of 4




Summary of Disbursements to Creditors:

                                             Claim                 Principal       Interest
                                             Allowed               Paid            Paid
Secured Payments:
       Mortgage Ongoing                    $ 639,122.41        $ 20,590.08             $ 0.00
       Mortgage Arrearage                         $ 0.00             $ 0.00            $ 0.00
       Debt Secured by Vehicle                    $ 0.00             $ 0.00            $ 0.00
       All Other Secured                          $ 0.00             $ 0.00            $ 0.00
TOTAL SECURED:                             $ 639,122.41        $ 20,590.08             $ 0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                $ 0.00               $ 0.00          $ 0.00
        Domestic Support Ongoing                  $ 0.00               $ 0.00          $ 0.00
        All Other Priority                        $ 0.00               $ 0.00          $ 0.00
TOTAL PRIORITY:                                   $ 0.00               $ 0.00          $ 0.00

GENERAL UNSECURED PAYMENTS:                       $ 0.00               $ 0.00          $ 0.00



Disbursements:

       Expenses of Administration              $ 913.92
       Disbursements to Creditors           $ 20,590.08

TOTAL DISBURSEMENTS:                                           $ 21,504.00




UST Form 101-13-FR-S (9/1/2009)
            Case 8:14-bk-13668-RCT            Doc 71      Filed 09/15/15      Page 4 of 4




       12) The Trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests that the Trustee be discharged and granted such other relief as may be just and proper.




Date: 09/15/2015                        By: /s/ Kelly Remick
                                                 Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
